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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA


       FREDERIC and JENNIFER                          CASE NO. 18-62758-CIV-DIMITROULEAS
       GUTTENBERG,
       as co-representatives of the Estate of Jaime
       Guttenberg,

              Plaintiffs,

       vs.


       UNITED STATES OF AMERICA,

             Defendant.
       ________________________________/
                                                      CASE NO. 19-61623-CIV- DIMITROULEAS

       PHILIP and APRIL SCHENTRUP,
       as co-representatives of the Estate of
       Carmen Schentrup,

              Plaintiffs,

       vs.


       UNITED STATES OF AMERICA,

             Defendant.
       ________________________________/


                      CONSOLIDATED VERIFIED AMENDED COMPLAINT1

             Plaintiffs, Frederic and Jennifer Guttenberg, as Co-Personal Representatives of the Estate

   of Jaime T. Guttenberg (collectively, the “Guttenbergs”), and Plaintiffs, Philip and April

   Schentrup, as Co-Personal Representatives of the Estate of Carmen M. Schentrup (the



   1
    This action was consolidated for pretrial proceedings pursuant to the Court’s July 31, 2019 Order
   [D.E. 55].


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   “Schentrups,” and together with the Guttenbergs, “Plaintiffs”), pursuant to the Court’s January 30,

   2019 Order [D.E. 170], hereby file their Consolidated Verified Amended Complaint against

   Defendant United States of America and allege:

                                     NATURE OF THE ACTION

          1.      “I know he’s going to explode,” a woman who knew Nikolas Cruz said on the FBI’s

   tip line on January 5, 2018. Through the designated channel for the American public to convey

   information to the FBI, she provided detailed and specific information that Cruz “was going to slip

   into a school and start shooting the place up.” She explained to the FBI that Cruz wanted to kill

   people. Not only had he said so, but he had the means to do so—he had spent the last several

   months collecting rifles and ammunition. Forty days after the FBI got the call, Cruz did just what

   the tipster warned the FBI he would do. He entered his former high school—Marjory Stoneman

   Douglas High School in Parkland, Florida—murdered 17 people and wounded at least 17 more.

          2.      Plaintiffs in this action are the Guttenbergs, whose daughter, Jaime Guttenberg, was

   a 14-year-old high school student on the afternoon of February 14, 2018, when Cruz murdered her

   in a hallway of Marjory Stoneman Douglas High School, and the Schentrups, whose daughter,

   Carmen Schentrup, was a 16-year-old high school student on the afternoon of February 14, 2018,

   when Cruz murdered her in a classroom.

          3.      On or before February 14, 2018, the FBI knew that Nikolas Cruz had the stated

   desire and capability to carry out a mass school shooting.

          4.      Two days after the Plaintiffs suffered the loss of their children, the FBI issued a

   public written statement admitting that, on January 5, 2018, it received information “about Cruz’s

   gun ownership, desire to kill people, erratic behavior, and disturbing social media posts, as well as

   the potential of him conducting a school shooting.” The FBI went on to admit that its own




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   established “protocols were not followed” and that the information provided to the FBI on January

   5, 2018, “should have been assessed as a potential threat to life” and “should have been forwarded

   to the FBI Miami Field Office, where appropriate investigative steps would have been taken.”

          5.      In the days and months since the FBI issued its initial public statement on the

   Parkland shooting, FBI officials repeatedly confirmed and expanded on the admissions contained

   therein. On several occasions, senior officials at the FBI admitted that the bureau had made

   mistakes, that established protocols required the FBI to handle the information about Cruz in

   certain specific ways, and that the FBI failed to follow those strong processes and protocols. At

   no time has the FBI ever asserted that its statements were improperly issued or that they lack

   authenticity or misstate the FBI’s position.

          6.      The FBI had non-discretionary obligations—governed by established policies,

   protocols, and other rules—directing how FBI employees must assess and handle tips about

   potential threats to life, active shooters, mass shootings, terrorism threats, and school shootings

   (collectively, “mandatory directives”). The FBI was required to act in accordance with these

   mandatory directives. On numerous occasions, the FBI admitted that the mandatory directives

   existed and that they were violated. If the mandatory directives had not been violated, the

   information about Cruz would have been shared with FBI agents at the FBI Miami Field Office,

   who would have done an appropriate investigation and prevented or mitigated the attack that took

   the lives of Jaime Guttenberg and Carmen Schentrup.

          7.      The FBI employees who received the information about Cruz were required to act

   reasonably in handling the specific and detailed information they received—at a minimum, not to

   ignore the information entirely—and to forward the information to the FBI employees who would

   have conducted an appropriate investigation. Yet, contrary to its own established rules, the FBI




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   failed to take any action whatsoever with the information it received. If the FBI had complied

   with its mandatory obligations to investigate and intervene in Cruz’s plans to carry out a mass

   shooting at Marjory Stoneman Douglas High School, Cruz would not have succeeded in carrying

   out his attack and Jaime Guttenberg and Carmen Schentrup would not have been killed.

             8.    As a direct, proximate, and foreseeable result of the FBI’s negligence, Cruz was

   able to kill 17 students and teachers and wound many more.

             9.    Plaintiffs bring this lawsuit under the Federal Tort Claims Act, 28 U.S.C. §§ 1346

   and 2671-80, and Florida’s Wrongful Death Statute, Fla. Stat. § 768.21. They seek all wrongful

   death damages for their losses, including lost support and services, lost society, mental pain and

   suffering, medical and funeral expenses, and any other damages recoverable under the applicable

   law.

                                    JURISDICTION AND VENUE

             10.   The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331.

             11.   Venue is properly in the Southern District of Florida pursuant to 28 U.S.C.

   §1391(b) because Plaintiffs’ claims arose in Broward County, Florida, which is located in the

   Southern District of Florida.

             12.   Plaintiffs have complied with and exhausted all applicable pre-suit notice

   requirements of the Federal Tort Claims Act. More than six months before the filing of this

   complaint, the FBI received the Plaintiffs’ respective Notices of Claim. The FBI did not issue a

   formal denial of the Plaintiffs’ claim within six months, and thus the claims were each deemed

   denied.

                                            THE PARTIES

             13.   The Guttenbergs are residents of Parkland, Florida.




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          14.     The Guttenbergs have been appointed co-personal representatives of the Estate of

   Jaime T. Guttenberg, their 14-year old daughter who was killed at Marjory Stoneman Douglas

   High School.

          15.     The Schentrups were residents of Parkland, Florida at all times material to the

   events described in this complaint.

          16.     The Schentrups have been appointed co-personal representatives of the Estate of

   Carmen M. Schentrup, their 16-year old daughter who was killed at Marjory Stoneman Douglas

   High School.

          17.     The United States of America is a defendant in this action pursuant to the Federal

   Tort Claims Act, 28 U.S.C. §§ 1346 and 2671-80, et seq., arising from the acts and/or omissions

   of employees and agents of the FBI, an agency of the defendant.

          18.     The FBI is a federal law enforcement agency statutorily empowered by the United

   States Congress to enforce and investigate certain alleged violations of the United States Criminal

   Code. The FBI is part of the Department of Justice.

                                                FACTS

   I.     “If you see something, say something.”

          19.     The FBI instructs the American public to report information about potential threats

   and crimes to it. The FBI also induces the public to rely on the agency to respond to the tips

   appropriately by making specific assurances that each tip will be handled with due diligence and

   passed along to FBI agents who will act on the information appropriately.

          A.      The FBI’s creation of the Public Access Line.

          20.     Prior to 2012, the FBI’s local field offices received calls directly from the public.

   This meant that the personnel at the local offices—the agents and analysts tasked with investigative




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   and intelligence duties—would receive and process information about potential threats

   themselves.

            21.    In 2012, the FBI centralized how public information was gathered. The FBI created

   a Public Access Line, or “PAL,” as the central channel for civilians to alert the FBI about crimes

   and threats. Instead of going directly to local field offices, the public tips would be routed to the

   PAL. The FBI publicized that the PAL would be a central repository to receive information from

   the public and pass that information to FBI agents and analysts. When the FBI set up the PAL, it

   announced on its website, fbi.gov, that “the FBI is implementing an easy way for the public to

   quickly provide tips and other information to agents and analysts.”2 According to the FBI, the

   PAL would be tasked with gathering information from the public and sending that information to

   the investigative entity that needs to act on the information.

            22.    In a podcast and article available on the FBI’s website, Jeffrey Lindsey, the chief

   of the Public Access Line Unit of the Criminal Justice Information Services Division in November

   2013, explained that the PAL “helps [the FBI] capture the information in a better way,” which

   “helps streamline [the FBI’s] investigative and analytical process.” Id. Another FBI employee,

   Mollie Halpern, explained to the public that “Bureau employees with specific training to gather as

   much information as possible staff the line around the clock.” Id.

            B.     The FBI strongly encourages the public to report information about potential
                   threats, and it assures the public that tips will be handled and investigated with
                   due diligence.

            23.    The FBI strongly encourages—indeed it instructs—the public to send it information

   about potential mass shootings, school shootings, terrorism threats, and other potential threats to

   life. To give just one example, on the “Contact Us” page of the FBI’s website, the FBI instructs



   2
       https://www.fbi.gov/audio-repository/news-podcasts-thisweek-public-access-line.mp3/view.


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   concerned citizens to “submit a tip” to the FBI to report suspected terrorism or criminal activity.

   The website tells the public “If you see something, say something.”3

            24.     The FBI’s “Contact Us” page asks viewers to “See What We Investigate for more

   information on our areas of investigative responsibility.”          The blue words—“What We

   Investigate”—is a link to the FBI’s “What We Investigate” page, which describes several

   categories of crime that the FBI takes primary responsibility for investigating.          The most

   significant category on the page is “Terrorism.”        The FBI takes on the responsibility of

   investigating and preventing acts of terrorism—i.e., terrorist acts perpetrated by individuals

   inspired by or associated with foreign terrorist organizations and nations or U.S.-based movements

   that espouse extremist ideologies of a political, religious, social, racial, or environmental nature.

   According to the FBI’s website, “[p]rotecting the United States from terrorist attacks is the FBI’s

   number one priority.”

            25.     Consistent with this mission, the FBI focuses, in part, on homegrown violent

   extremists who pose a threat of international terrorism—i.e., those sympathizers who have been

   inspired by foreign terrorist organizations, are based in the U.S., have been radicalized primarily

   in the U.S., and are not directly collaborating with a foreign terrorist organization. For example,

   at the time of the Parkland shooting, the FBI classified the perpetrators of the 2015 mass shooting

   in San Bernardino, California, as perpetrators of international terrorism, despite the fact that the

   shooters were merely homegrown violent extremists who sympathized with ISIS, and were neither

   members of ISIS nor formally supported by ISIS. At the time of the Parkland shooting, the FBI’s

   website provided definitions of “International terrorism” and “Domestic terrorism,” both of which

   were listed under the umbrella of “Terrorism”—the FBI’s top investigative priority. These



   3
       https://www.fbi.gov/contact-us.


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   definitions cited the San Bernardino shooting as the archetypal and definitional example of the

   term “international terrorism”:




            26.      Before the Parkland shooting, the FBI received information that Cruz sympathized

   with ISIS—the same foreign terrorism organization with which the San Bernardino shooters

   expressed sympathy. The FBI also knew Cruz had been posting messages in Arabic and had been

   dressing as a member of ISIS in public social media posts.

            27.     The FBI’s website also explains that it is the go-to entity for concerned citizens to

   report a potential mass shooting. The website states that “[t]he FBI concentrates on crime problems

   that pose major threats in American society. Significant violent crime incidents such as mass

   killings, sniper murders, and serial killings can paralyze entire communities and stretch state and

   local law enforcement resources to their limits.”

            28.     The FBI specifically encourages the public to use the PAL to report information

   about potential attacks and assures the public that the information will be provided to agents and

   analysts who will investigate the information appropriately and prevent harm. For example, on

   one page of the FBI’s website, originally published in July 2015 and still available, the FBI

   instructs the public: “If you know of or suspect criminal behavior, the FBI wants to hear from

   you.”4 In the article, the Section Chief of the FBI’s Counterterrorism Division, Jane Rhodes-




   4
       https://www.fbi.gov/audio-repository/news-podcasts-thisweek-online-tips-to-the-fbi.mp3/view.


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   Wolfe, explained that “each tip is reviewed within one minute from the time it’s received. A team

   of special agents and analysts monitor the tips around the clock.” She went on, encouraging the

   public to report information to the FBI so that lives could be saved: “We know that these are hard

   items to report to us, but you really have the potential to save someone—to save someone from

   potentially causing harm to others or causing harm to themselves.” Id. (emphasis added).

          29.     On yet another page on the FBI’s website, originally published in July 2011 and

   still available, the FBI tells the public: “If you have knowledge of suspected terrorism of criminal

   activity, the FBI wants to hear from you.”5 The webpage assures the public that the FBI will

   review everything that it receives within six minutes and share the information with the appropriate

   FBI divisions for follow-up investigation.

          30.     In another article originally published in November 2013 and still available, the

   FBI states: “The Navy Yard shootings in Washington, DC. The Boston Marathon bombings. . . .

   These are major cases and catastrophic events when the FBI wants to hear from you.”6 In the same

   article, Mr. Lindsey explained: “When a member of the public calls . . . they can rest assured that

   on the other end is going to be an FBI employee who’s fully trained and experienced in taking

   calls from the public, making sure that information gets handled in a confidential manner, and gets

   sent to the investigative or analytical entity that needs that information.” Id. (emphasis added).

          31.     On several pages of its website, all published before the Parkland shooting, the FBI

   assures the public that every piece of information the public submits to the PAL is given the

   appropriate level of due diligence. For example, on another website page about the FBI’s tip line,

   Special Agent Eric Reese, the Watch Commander of the FBI’s Public Access Center Unit, explains




   5
       https://www.fbi.gov/audio-repository/news-podcasts-thisweek-internet-tip-line.mp3/view.
   6
       https://www.fbi.gov/audio-repository/news-podcasts-thisweek-public-access-line.mp3/view.


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    to the public: “I think one of the most important things to know about the FBI’s tip line . . . is

    every single piece of information that’s submitted by an individual is reviewed by FBI personnel

    at FBI Headquarters. So there’s nothing that goes unaddressed. We basically listen to everything

    that people want to submit and we give it its due diligence.”7

           32.     Several pages on the FBI’s website explains that tips are analyzed quickly and then

    disseminated to field offices, where agents can take appropriate investigative steps. On one FBI

    website page, the Assistant Section Chief of the Counterterrorism Division, Stephen Woolery,

    explained: “We cannot afford to let one tip fall through the cracks, so we analyze every tip, we

    process it as quickly as we can, and we get it out to the appropriate FBI elements.”8 According

    to the article, “Supervisory Special Agent Matthew Bertron says this is an essential function within

    the Bureau.” Id.

           33.     On another website page, Special Agent Reese, the Watch Commander of the FBI’s

    Public Access Line Unit, explained that “every single tip is looked at by at least two individuals

    who have independent quality assurance checks. And then once a tip is determined to have further

    investigative merit a supervisor would actually review the tip, and it would be formatted into

    electronic communication or entered into eGuardian for further entry into the Guardian system and

    follow onto the Automated Case Support System. So there’s a third level at which point it’s

    leaving FBI Headquarters to go out to the field.”9 The same website page quoted a lead customer

    service representative with the Public Access Line unit, who explained “[t]he access line is on the




    7
        https://www.fbi.gov/video-repository/newss-inside-the-fbis-internet-tip-line/view. (emphasis
    added).
    8
      https://www.fbi.gov/audio-repository/news-podcasts-thisweek-internet-tip-line.mp3/view.
    9
      https://www.fbi.gov/video-repository/newss-inside-the-fbis-internet-tip-line/view.


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    front line serving a very important role for the Bureau. We’re building those initial relationships

    with the public so information can get out into the field in a timely manner.” Id.

    II.    “I’m going to be a professional school shooter.”

           34.     Five months before the shooting, the FBI learned that Cruz had professed his

    intention to become a school shooter.

           35.     On September 24, 2017, a Mississippi bail bondsman named Ben Bennight

    received a comment on his YouTube channel from Cruz. In the post, Cruz said he was “going to

    be a professional school shooter”:




           36.     Cruz made no attempt to conceal his identity. He used his first and last name, rather

    than a unique username, in the post.

           37.     Bennight immediately reported Cruz’s threatening comment to the FBI. The FBI

    entered the tip into the Guardian system and assigned the lead to FBI agents at a local field office.

    The Guardian system, among other things, allows information about threats to be tracked,

    managed, and analyzed.

           38.     The next day, two FBI agents interviewed Bennight about the comment.

           39.     Upon information and belief, the FBI closed its file on this matter in October 2017.

    III.   “He’s going to explode.”

           40.     A little more than one month before the shooting, the FBI received another tip

    warning that Cruz would commit a school shooting.




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              41.    On January 5, 2018, a person close to Cruz contacted the FBI’s Public Access Line

    to report her concerns about Cruz’s behavior. The January 5 caller provided detailed information

    about Cruz’s desire to kill people, his erratic behavior, his history of violence, his disturbing social

    media posts, his fixation with ISIS, the potential of him conducting a school shooting, and his

    increasing obsession with amassing guns, including assault-style rifles.

              A.     Cruz said he wanted to kill people.

              42.    The January 5 caller warned that Cruz was 18 years old but had “the mental capacity

    of a 12 to a 14-year-old.” She explained that Cruz’s mother had just recently died, and Cruz had

    been exhibiting violent and suicidal behavior since his mother’s death.

              43.    The caller explained that, since his mother’s death, Cruz had “started off saying he

    wanted to kill himself.” In response, the caller had called the Parkland Police Department and

    spoke to an officer there about Cruz’s behavior, but she did not hear anything back. Then, the

    caller explained, “just recently,” Cruz “switched it to he wants to kill people.” In other words,

    since the time the caller had last contacted the Parkland Police Department, Cruz had begun

    professing a desire to kill other people. This new threat—a threat that Cruz would kill others—

    prompted the January 5 caller to contact the FBI.

              44.    The caller explained that Cruz had said he wanted to kill people in a public post on

    his Instagram, but about two days later, he took the post down:10




    10
         The quoted language is from the transcript of the tipster’s call to the FBI on January 5, 2018.


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           B.     Cruz was inspired by ISIS, he dressed in ISIS garb, and he used Arabic
                  expressions to convey his violent ideations on social media.

           45.    The January 5 caller said that Cruz was “so into ISIS” and that she was “afraid this

    is so- something’s gonna happen.”




           46.    In addition, the caller said that Cruz had expressed and exhibited a fixation with

    ISIS, even dressing up as a member of ISIS and posting messages in Arabic that appeared to

    threaten that he would do something violent.




           C.     Cruz had been amassing a collection of guns in the months before the tip call,
                  and the January 5 caller expected him to commit a mass shooting.

           47.    The January 5 caller told the FBI that she was even more concerned about Cruz’s

    propensity for violence because he had been acquiring guns, including rifles, since his mother’s

    death. Before his mother died, Cruz had “pulled a rifle on his mother.” Then, after his mother’s

    death, Cruz took money out of his mother’s account and “brought all these rifles and ammunition

    and he posted pictures of them on the Instagram.”




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           48.     The caller explained that she and another cousin of Cruz’s had grown very

    concerned about Cruz, and she wanted the FBI to know so that they could look into it. The caller

    expressly stated that Cruz might “take[] off and . . . start shooting places up.”




           49.     The caller described in detail various posts on Cruz’s Instagram account that

    displayed his weapons, including guns, knives, and ammunition. The caller said the Instagram

    page contained a photo of “a whole bag with all kinds of rifles” and “scopes.” She explained that

    Cruz was expecting to receive thousands of dollars from his mother’s estate, and he would use that

    money to buy more guns.




           D.      Cruz’s social media accounts contained statements of his desire to kill people,
                   his steps taken toward that goal, and other violent images.

           50.     The caller gave specific information about Cruz’s social media accounts, which

    contained Cruz’s credible statements and other evidence of his desire and planning to kill people,




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    and photos of Cruz’s weapons including “all kinds of rifles.” The caller urged the FBI to go onto

    Cruz’s Instagram page, where Cruz had posted about his desire to kill people.




           51.     The caller gave the FBI specific details about Cruz’s Instagram accounts, spelling

    out, letter-by-letter, the handles Cruz used on Instagram so that the FBI could verify the

    information for itself.




           52.     The caller also explained that Cruz’s Instagram accounts contained photos of

    animals Cruz had mutilated and killed, and she provided the FBI with additional details about

    Cruz’s mutilation of animals. She told the FBI that Cruz’s interest in killing animals, cutting them

    up, and posting photos of them was “a red flag.”




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           E.       Cruz was going to shoot up a school.

           53.      Over and over again, the caller stressed the danger of Cruz’s access to guns

    combined with his erratic behavior and propensity to act violently. The caller said with certainty

    that she knew Cruz was “going to explode.”




           54.      The caller was specific about the way she expected Cruz to explode—he was going

    to shoot up a school.

           55.      The caller said she felt compelled to call because “it’s alarming to see these pictures

    and to know what [Cruz is] capable of doing and-and what could happen.” She explained that he

    had exhibited violent and erratic behavior in the past, including picking up a chair and throwing it

    at someone—a student or a teacher at Marjory Stoneman Douglas High School—because he didn’t

    like the way they were talking to him. The caller explained that Cruz had been kicked out of school

    for his violent behavior, and she specifically said Cruz was going to get into a school and shoot

    the place up.




           F.       The January 5 caller relied on the FBI.

           56.      The January 5 caller gave the FBI customer service representative the name and

    phone number of the individuals who Cruz was living with, and she provided the address of the




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    home where Cruz was living at the time.     FBI agents never called the number, nor did they visit

    the home.

           57.     The January 5 caller also gave the FBI customer service representative her own

    phone number and information so that she could be reached and provide any other information the

    FBI might have needed in its investigation. She was never contacted again.

           58.     The January 5 caller ended the call by telling the FBI that she needed to report the

    information to the FBI so that it could investigate because, she said, “I do believe something’s

    going to happen.”




           59.     The FBI’s customer service representative assured the tipster that the FBI, and not

    some other governmental body, was the proper forum for reporting school shooting threats. On

    the call, the tipster expressed some ambivalence about whether she was calling the correct

    governmental agency, saying, for example, that she “didn’t know whether to call you or Homeland

    Security or who,” and the FBI intake specialist responded by assuring the caller that the FBI

    appreciated that the tipster had chosen to call. The FBI customer service representative did not

    direct the caller to report her observations and concerns to anyone else. Nor did the FBI alert the

    January 5 caller that she could or should take other precautionary measures to prevent the attack

    the caller knew would happen if someone did not intervene. The FBI assured the January 5 caller

    that she had reported the information to the right place. The January 5 caller was made to believe

    she could rest assured that the FBI would handle the information she provided with due diligence.

           60.     The January 5 caller relied on the FBI to investigate the matter and decide the best

    course of action. She believed that if she gave the information about Cruz to the FBI, it would use


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    due diligence to investigate the tip appropriately. Because she relied on the FBI to handle the tip

    with reasonable care, she forewent other potential remedies and precautions. For example, she did

    not contact other law enforcement agencies or Marjory Stoneman Douglas High School to tell

    them about Cruz’s violent plans and efforts to carry them out because she relied on the FBI’s

    undertaking to handle the information appropriately. If the FBI had not undertaken the task of

    collecting information of this sort and handling it appropriately, the caller would have taken other

    measures to ensure that Cruz was prevented from carrying out an attack. In short, having been

    assured that she had provided the information to the right entity and that the FBI would handle her

    tip with due diligence, the caller took no further action concerning the threat posed by Cruz.

           61.     The January 5 caller expected the FBI would look into the issue further, explaining

    “I just want someone to know about this so they can look into it” and “when you look into this,

    you can make the decision as to whether you want to go further or not.” On several occasions, the

    tipster also explained that by coming to the FBI, she was giving over the responsibility of handling

    the information to the FBI. She said, “If they think it’s something worth going into, fine. If not,

    um, I just know I have a clear conscience if he takes off and, and just starts shooting places up.”

    She also said she was getting the information “off [her] chest in case something does happen and

    I do believe something’s going to happen.”

           62.     The FBI customer service representative asked the caller “So if anybody else has

    questions they can call you back. Is that correct, ma’am?” The caller replied “Yes, you can, hun.”

    The FBI intake specialist also sought specific details on Cruz’s whereabouts, including his current

    address and phone number. The January 5 caller understood that these questions were meant to

    compile all the information that would be passed along to agents or analysts who would give the

    information its due diligence and take appropriate investigative steps.




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           63.     The January 5 caller wanted to be sure that her detailed and urgent information

    about Cruz’s desire and steps toward an attack would be properly investigated. When the January

    5 caller was preparing to end the call, she expressly reconfirmed that the FBI would look into the

    information she provided. The tipster would not have obtained the peace of mind she was looking

    for—and she would have sought assistance elsewhere—unless she felt confident that the FBI

    would look into the information she gave it. The January 5 caller stated, “Um, when you look into

    this, you can make the decision as to whether you want to go further or not . . . and I do believe

    something is going to happen . . . .” In response, the customer service representative said, “I do

    appreciate you calling that in, ma’am.”

           64.     The tipster surmised from the phone call that that the FBI would “look into” the

    information she gave it, meaning that the agency would pass the information along to FBI agents

    or analysts with the experience and expertise to conduct at least some investigative steps, enough

    steps to either neutralize the threat posed by Cruz or conclude that it did not merit further action.

    The FBI’s responses to the tipster had the effect of assuring the her that the FBI would take the

    appropriate investigative action—at the very least, look into the threat and potentially follow-up

    with her.

           G.      The FBI failed to act reasonably—and it failed to follow protocol—in handling
                   the information it received about Cruz on the January 5 call.

           65.     The FBI did not take appropriate investigative steps in response to the call. The

    FBI did not create a Guardian for the information provided by the January 5 caller; it did not

    forward the information to the local FBI Field Office in Miami, Florida where additional

    investigative steps would have been taken; the FBI did not pass the information along to local law

    enforcement in Parkland, Florida; and the FBI did not pass the information along to Cruz’s target—

    Marjory Stoneman Douglas High School—so that the school could take appropriate measures to



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    prevent the massacre. These failures violated the FBI’s own mandatory directives. Indeed, as

    explained below, the FBI admitted that it failed to follow its own established protocols.

    IV.    “I whana shoot people with my AR-15.”

           66.     For years before the shooting at Marjory Stoneman Douglas High School, Cruz was

    using social media to post messages and pictures of himself describing his violent desires and

    intentions. The FBI would have been able to view these social media posts and open source public

    pages if it had followed up on the information the January 5 tipster gave it. The social media posts

    also would have corroborated the veracity of the January 5 caller’s information.

           67.     If the FBI had followed up on the information it received from the January 5 caller

    it would have seen Cruz’s social media posts, which depict Cruz posing with weapons, including

    guns and knives, on Instagram:




           68.     In many of the photographs loaded onto Instagram, Cruz covered his face with

    masks or bandanas while he brandished weapons.




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           69.    Cruz’s obsession with amassing high-powered weapons was apparent from his

    social media. He used social media to post advertisements for weapons he wanted to buy. In one

    instance, Cruz posted an advertisement for the Maverick 88 Slug on Instagram. In the post, Cruz

    asked his Instagram followers for advice about gun costs and passing background checks:




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           70.    Throughout the rest of 2017, Cruz continued to post photos displaying his growing

    collection of weapons and ammunition, including the AR-15 that Cruz eventually used in the

    shooting. In one photograph, Cruz called his collection an “arsenal”:




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           71.     In another post, Cruz uploaded a photograph showing that he was aiming a gun out

    of his window at a building across the street:




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             72.    Cruz also posted the Arabic phrase “Allahu Akbar” on his Instagram. Although the

    phrase simply means “God is great” is Arabic, the expression has been seized on by jihadists who

    claim that Islam justifies their attacks on innocent civilians in the name of God. The FBI, of course,

    is aware that the phrase has often been used by jihad-inspired terrorists during and before attacks.

    For example, the driver of a truck that mowed down 20 people on a Manhattan bike path in

    November 2017 cried out “Allahu akbar” before he was shot by a police officer. The men who

    carried out the attack on the French newspaper Charlie Hebdo in 2015 shouted it during their

    onslaught. And the phrase rang through the air as a British soldier was run down near military

    barracks in 2013 and then hacked to death.11 Cruz’s post confirms yet another piece of information

    the January 5 caller gave the FBI—that Cruz had become fixated with ISIS and had been using

    social media to post Arabic phrases. Cruz specifically posted the Arabic phrase used by terrorists

    inspired by or affiliated with ISIS during their attacks.

             73.    In another post, Cruz showed a disturbing image of target practice with the caption:

    “Group Therapy. Sometimes it works.”:



    11
         https://www.nytimes.com/2017/11/02/world/americas/allahu-akbar-terrorism.html.


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           74.     Cruz also posted photographs of mutilated animals on his Instagram account. For

    example, in one post, Cruz posted a disturbing photograph of a disemboweled frog surrounded by

    blood, saying he had killed it:




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           75.       In the months preceding the Parkland shooting, Cruz made several threatening

    comments under videos on YouTube and other sites. They include:

                 •   “I whana shoot people with my AR-15”

                 •   “I wanna die Fighting killing s**t ton of people”

                 •   “I am going to kill law enforcement one day they go after the good people”

           76.       If the January 5 caller’s information had been documented on Guardian and

    forwarded to the FBI Miami Field Office—as mandatory directives required—all of these pre-

    attack posts, and others, would have been monitored and utilized to prevent the attack that

    ultimately took the lives of Jaime Guttenberg, Carmen Schentrup, and fifteen others.

    V.     “Hello. My name is Nick. And I’m going to be the next school shooter of 2018.”

           77.       In the months after the FBI first received information about Cruz’s intentions of

    becoming a school shooter, Cruz was using his cell phone to make his violent plans. If the FBI

    had taken investigative steps with the information it received about Cruz, it would have discovered

    a trove of information that demonstrated Cruz’s plans to kill students and teachers at Marjory

    Stoneman Douglas High School.

           78.       From November 2017 until the end of the year, Cruz was using his cell phone to

    search for examples of school shootings and other shooting massacres, including the Marshall

    County school shooting, the Columbine school shooting, and the Aurora movie theater shooting.

           79.       On January 20, 2018—after the January 5 tip call—Cruz wrote a note to himself on

    his cellphone: “basketball court full of targets still thinking of ways to kill people.”

           80.       Twelve days before the shooting, on February 2, 2018, Cruz took a “screenshot” on

    his cellphone recording the school schedule at Marjory Stoneman Douglas High School.




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           81.     In the week before the shooting, Cruz viewed numerous videos discussing school

    shootings, including videos made by the Virginia Tech school shooter, Columbine dramas, and a

    school shooting simulator.

           82.     Three days before the shooting, on February 11, 2018, Cruz shot a video on his

    cellphone. In the video, Cruz said the following: “Hello. My name is Nick and I’m going to be

    the next school shooter of 2018. My goal is at least 20 people with an AR-15…. Location is

    Stoneman Douglas in Parkland Florida. It’s going to be a big event. When you see me in the

    news, you’ll all know who I am. You’re all going to die.”

    VI.    The Shooting

           83.     On the afternoon of February 14, 2018, Marjory Stoneman Douglas students were

    anticipating the dismissal bell when, instead, they heard the sound of gunfire.

           84.     At 2:21 p.m. Cruz entered Building 12 of the school after an Uber dropped him off

    at the school’s entrance.

           85.     Cruz walked into the halls of the first floor of the school and activated the fire alarm

    in order to draw unsuspecting students and faculty members from their classrooms.

           86.      He removed his .223-caliber AR-15-style rifle from a soft black case he was

    carrying, and began to shoot into four different classrooms, going back and forth between them

    and killing eleven people and injuring thirteen before moving on. Cruz brutally murdered Carmen

    Schentrup, and injured three others, in Room 1213.

           87.     Cruz proceeded, through the school’s west stairwell, up to the second floor, where

    he roamed across the halls, stopping to shoot into one classroom without injuring anyone inside.

           88.     He then took the east stairwell up to the third floor of the school, where he continued

    shooting, ultimately murdering six other people, including 14-year-old Jaime Guttenberg, and

    injuring several others.


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           89.     After shooting several rounds through the window of the third-floor teachers’

    lounge onto fleeing students below, Cruz dropped his weapon and removed his ammunition vest

    so he could blend into the crowd of students running away.

           90.     Cruz walked out of the Marjory Stoneman Douglas High School campus with the

    fleeing crowd of students, proceeded to a Walmart store to buy a drink, and then on to a nearby

    McDonald’s. Cruz then continued to roam freely until he was detained more than one hour after

    the shooting began in a Coral Springs neighborhood while walking down the street.

           91.     After the massacre was over, authorities found that Cruz had etched swastikas onto

    the ammunition magazines he used during the shooting. Besides the AR-15 Cruz used in the

    shooting, Cruz owned six additional firearms: a Ruger .30-06 rifle, a Century Arms 7.62 AK-style

    rifle, a Remington 12 gauge shotgun, a Hi-Point 9x19 mm rifle, and two Mossberg 12 gauge

    shotguns. The shotguns had swastikas etched on the stock.

    VII.   By at least January 2018, the FBI knew or should have known Nikolas Cruz would
           carry out a mass shooting at Marjory Stoneman Douglas High School, and it had the
           authority and the ability to prevent the massacre.

           92.     The FBI’s own published manuals shed light on Cruz’s potential risk and the

    investigative and preventative steps the FBI takes in response to threats of mass shootings, active

    shooters, school shootings, and terrorism threats. For example, in 2015, the FBI’s Behavioral

    Analysis Unit studied ways to reduce mass shootings and other forms of targeted violence. It

    published the results of the study in a guidebook called “Making Prevention a Reality: Identifying,

    Assessing, and Managing the Threat of Targeted Attacks.”

           93.     The FBI’s guidebook for preventing targeted attacks explains that “bystanders are

    a key component for prevention of targeted violence events.” It defines a bystander as “anyone

    positioned to have awareness of risk factors or to observe warning behaviors related to a person

    who may be considering acting violently,” including “a friend on social media, a classmate, a co-


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    worker, a neighbor, a family member, or a casual observer.” A bystander “can potentially

    intervene by various means, but most importantly by simply conveying what he knows, observes,

    or fears may happen.” The FBI counsels that bystanders are “an absolutely critical component of

    prevention.” In key research studies reviewed by the FBI, researchers found that “in 81% of school

    shooting cases they reviewed, the offender told at least one person about the attack beforehand”

    and in “59% of cases at least two other individuals had some information about the event before it

    was carried out.” When bystanders report what they know to authorities, they “create opportunities

    for intervention and ultimately prevention.”

           94.     The FBI’s guidebook explains that persons of concern are often identified when

    they make a threat—i.e., an expression of intention to inflict injury or damage. It explains that

    threats “must all be taken seriously and thoroughly evaluated.”

           95.     The FBI’s guidebook also lists several “warning behaviors” that evidence an

    increasing and accelerating risk that someone will carry out a targeted attack. The FBI notes that

    “[w]hen warning behaviors are evidenced, they require a threat management strategy and

    operational response. They are, for the most part, proximal behaviors, occurring more closely in

    time to a potential act of targeted violence.”

           96.     The FBI defines a “pathway to violence warning behavior” as any behavior that is

    part of research, planning, preparation, or implementation of an attack. Examples of pathway

    warning behaviors include “obtaining weapons and gear as well as familiarization with the

    weapons.”

           97.     The January 5 caller warned that Cruz had demonstrated “pathway to violence”

    warning behaviors, including a preoccupation with acquiring weapons and ammunition to carry

    out a violent attack.




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           98.     The FBI defines a “fixation warning behavior” as “an increasing preoccupation

    with a person or a cause.”

           99.     The January 5 caller warned the FBI that Nikolas Cruz had demonstrated fixation

    warning behaviors, including by telling the FBI that Cruz is “so into ISIS” and had posted

    messages in Arabic on social media that appeared to be related to the terrorist organization. She

    also warned that Cruz had expressed a desire to kill people.

           100.    The FBI defines an “identification warning behavior” as one that becomes evident

    when a person adopts a “pseudo-commando” identity. “A preoccupation with firearms and a desire

    to use them for revenge may be evident. . . . The practical aspect of identification warning behavior

    may feature an unusual fascination with weapons or other military or law enforcement

    paraphernalia. This can be demonstrated through actual weapons, ammunition or paraphernalia

    purchases, or through virtual activities such as intense preoccupation with and practice on first-

    person shooter games, or in-depth on-line research of weapons. A psychological aspect of

    identification may involve physical costuming, immersion in aggressive or violent materials, or

    fantasizing about offending violently.”

           101.    The January 5 caller warned the FBI that Nikolas Cruz had demonstrated

    identification warning behaviors. On the call, the tipster noted that Cruz had an unusual fascination

    with guns and weapons, posting many photos on Instagram of guns he had purchased. He had also

    posted “pictures of himself dressed up” as a member of ISIS and in military garb.

           102.    The FBI defines “novel aggression warning behavior” as an act of violence in which

    the person is “testing” his ability to actually engage in a violent act, or experimental aggression.

    “Examples of acts of novel aggression could include animal cruelty, assault, firearm discharge,




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    arson or bombing, rehearsed violence with inanimate objects fantasized to be human targets, or

    even vandalism.”

           103.    The January 5 tipster warned the FBI in January 2018 that Nikolas Cruz had

    demonstrated novel aggression warning behaviors including committing concerning acts of animal

    cruelty, assaulting his mother and school peers, and pulling a rifle on his mother in order to get

    money to buy more weapons.

           104.    The FBI defines “leakage” as “a communication to a third party of intent to do

    harm to a target through an attack.” The FBI advises that “[w]hen leakage in any form is

    discovered, it should be recognized as such and not dismissed as fantasy writing or mere venting .

    . . A full consideration of all facts and circumstances will help threat managers discern the

    difference.”

           105.    In the months preceding the school shooting, two tipsters warned the FBI that Cruz

    had “leaked” his intent to kill other people and, specifically, to become a “professional school

    shooter.”

           106.    The FBI guidebook also describes the numerous methods of intervention well short

    of arrest to deal with a person of concern once a threat of a targeted attack is identified. These

    management options include third-party monitoring, third-party intervention, direct interview,

    administrative actions, civil actions, criminal enforcement, setting specific boundaries and limits,

    100% enforcement, mental health commitments, alternatives to violence counseling, outpatient

    mental health care, stress and anger management classes, and other types of services.

           107.    In addition, “[w]hen a concern for violence rises above low,” the FBI guidebook

    instructs threat management teams to do increased vigilance and target hardening. In other words,

    the FBI suggests increasing security measures at the threat’s likely target. “Examples of increased




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    vigilance may include increased awareness by personnel in and around the environment in

    question, training on and adherence to security procedures, identification verifications,

    information sharing, and law enforcement alerts. . . . Target hardening can involve a thorough

    security process review, reduction of access points to the facility, more visible security, parking

    lot security and escorts, flagging the address in the ‘911’ system, and other measures deemed

    appropriate.”

            108.    The FBI defines a “low” level of concern scenario as one where, for example, the

    person of concern “may have evidenced few to no warning behaviors, he may “not have a

    significant number of risk factors,” or “circumstances may make it nearly impossible for the

    subject to carry out his threat (e.g., the person of concern is incarcerated, does not have a proxy

    willing to act violently on his behalf, and the target it outside the institution).”

            109.    The FBI defines a “moderate” level of concern scenario as one where, for example,

    “others may be concerned about the person potentially acting out violently,” the person “may have

    an increased number of risk factors (e.g., acting out violently, a paranoid personality disorder,

    substance abuse, or instability in employment and relationships),” and stressors may be present in

    the person’s life that could move the person further toward violence. In this scenario, the FBI

    advises that “monitoring and additional actions are necessary or desirable to further evaluate and

    respond to the situation to a point of resolution.”

            110.    The FBI defines an “elevated” level of concern scenario as one where, for example,

    a person of concern is making preparations such as “weapons acquisition and training that are both

    contextually inappropriate and an escalation from his norm,” or “increasing warning behaviors

    may become more evident,” or “stressors in a person’s life appear to be escalating and his abilities

    to cope with them appear diminished,” or “suicidal/homicidal ideation” is present. In this scenario,




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    the FBI explains that “the person of concern is reaching a critical point on a pathway to violence.”

    To deal with the threat, “a threat management team and additional resources should focus on

    reducing his susceptibility to violence and the target’s vulnerability, through guidance and

    enhanced security efforts.”

           111.    The FBI defines a “high” level of concern scenario as one where, for example, a

    person of concern “has exhibited highly concerning warning behaviors,” the person “has the means

    and ability to carry out a violent attack,” or the person exhibits a combination of serious mental

    illness, substance abuse or dependence, a history of violence or other risk factors. According to

    the FBI, “violence is possible and could occur within the near future following any precipitating

    events. Immediate and continuing attention is required from threat management resources to

    ensure violence does not occur.”

           112.    The information communicated to the FBI on the January 5 call alerted the FBI that

    Cruz was exhibiting an elevated or high level of risk. The FBI was told about Cruz’s young age

    and low mental skills, his mother’s recent death, his communicating suicidal and homicidal

    ideation, his sympathizing with ISIS, his violent history, and his preoccupation with acquiring

    rifles, among other things. These, along with Cruz’s other warning behaviors and risk factors,

    should have alerted the FBI that Cruz was capable of committing violence in the near future.

           113.    If the information provided by the January 5 caller had been shared with FBI

    agents—as mandatory directives required—the FBI agents would have recognized these warning

    behaviors, of course, as the FBI itself published the guidance describing them. If FBI agents had

    the information they needed to intervene, they would have taken at least some of the measures

    described in the FBI’s own guidance to prevent or mitigate Cruz’s attack.




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           114.    In June 2018, the FBI published “A Study of the Pre-Attack Behaviors of Active

    Shooters in the United States between 2000 and 2013.” The study explains that “[i]n the weeks

    and months before an attack, many active shooters engage in behaviors that may signal impending

    violence. While some of these behaviors are intentionally concealed, others are observable and—

    if recognized and reported—may lead to a disruption prior to an attack.”

           115.    The FBI explained that active shooters tend to be “individuals who fail to

    successfully navigate multiple stressors in their lives while concurrently displaying four to five

    observable, concerning behaviors, engaging in planning and preparation, and frequently

    communicating threats or leaking indications of an intent to attack. As an active shooter progresses

    on a trajectory toward violence, these observable behaviors may represent critical opportunities

    for detection and disruption.”

           116.    Prior to the attack, the FBI was aware that Cruz had displayed many of the

    observable concerning behaviors that precipitate a mass shooting. The FBI study explains that

    shooters typically undergo multiple stressors in the year before an attack, which could include the

    death of a relative, mental health problems, school-related problems, and conflicts with parents.

    The FBI also provides a list of concerning behaviors that are typically observed in active shooters

    before an attack. The list includes observed instances of inappropriate anger, inappropriate

    firearms behavior, more than the usual amount of discord in ongoing relationships with family,

    communication to a third-party of the intent to harm another person, indications of mental health

    issues, physical aggression, and violent media usage.

           117.    The January 5 caller warned the FBI that Cruz had experienced multiple triggering

    stressors and displayed observable concerning behavior in the months before the shooting. The

    tipster told the FBI that Cruz’s mother had died, he had expressed a desire to kill himself and




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    others, he had been kicked out of school for engaging in violently aggressive behavior directed

    toward his peers, and he had pulled a rifle on his own mother before her death. Cruz delighted in

    torturing and mutilating animals, and he posted gruesome pictures on social media. He had

    communicated his violent inclinations publicly using social media, and the social media account

    information was specifically provided to the FBI on the January 5 call.

           118.    The FBI was also aware, or reasonable should have foreseen, that Marjory

    Stoneman Douglas High School was Nikolas Cruz’s likely target. Cruz was 19 years old at the

    time of the shooting, and he had previously attended Marjory Stoneman Douglas High School.

    The January 5 caller warned the FBI that Cruz would shoot up a school. Months earlier, in October

    2017, Cruz had expressed his desire to become a school shooter in a YouTube comment reported

    to the FBI.

           119.    The FBI was also aware, or with reasonable diligence should have discovered, that

    Cruz had a history of acting violently at Marjory Stoneman Douglas High School. The January 5

    caller told the FBI that Cruz had thrown a chair at a student or teacher at his high school, and he

    had been kicked out of that school. Cruz’s history of violence at the school was well-documented

    and would have been easily discovered during a reasonable investigation into Cruz.

           120.    In addition, the FBI knows that active shooters in Cruz’s age group are very likely

    to choose their former school as a target. In the FBI’s study on pre-attack behaviors, the FBI

    explained that “active shooters often attacked people and places with which they were already

    familiar. There was a known connection between the active shooters and the attack site in the

    majority of cases . . . , often a workplace or former workplace for those 18 and older . . . , and

    almost always a school or former school for those younger than 18 . . . .”




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    VIII. The FBI’s Admitted Failures

           A.      The FBI completely failed to document or otherwise react to the information
                   provided by the January 2018 caller.

           121.    As stated above, in response to the Bennight tip in September 2017, the FBI created

    a Guardian—i.e., documentation which directly led to certain investigative steps being taken.

    Among other things, the Bennight Guardian classified the information relayed by Bennight as a

    “Type 1/Type 2” Assessment and a “Terrorist Threat.” These classifications automatically cause

    clear and unambiguous steps to be taken by the FBI to prevent harm.

           122.    In stark contrast to the handling of the Bennight Tip, and in direct violation of clear

    mandatory guidance, the FBI failed to document the information it received from the January 5

    caller. No Guardian was prepared for this information, and no information was forward to the

    Miami Field Office. This was just one of many violations of the FBI’s own mandatory directives.

    If the information had been properly documented and forwarded, in compliance with the FBI’s

    own mandatory directives, appropriate investigative steps would have been taken and the attack at

    Marjory Stoneman Douglas High School would have been prevented.

           123.    The consequences of the failure to document a Type 1/Type 2 Assessment are broad

    and serious; as a direct result, the government failed to take any of the other mandatory steps that

    were required in light of the nature of the specific information provided by the January 5 caller

    such as the FBI’s responsibilities with respect to terrorism-related information and the requirement

    to notify persons and other law enforcement agencies of threats to life, among other things.

           B.      The FBI’s February 16, 2018 Call to Frederic Guttenberg.

           124.    On February 16, just two days after the shooting, the Guttenbergs were sitting with

    their rabbi and a funeral director planning Jaime’s funeral. They were in the process of picking a

    casket for their daughter when Fred looked at his phone and saw that he had received a text



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    message and a missed call from a representative for the FBI. The text message advised Fred that

    the FBI had important information to share with him. Fred asked the FBI agent to call him.

           125.    During the call, the FBI agent told Fred that the FBI was at fault for failing to

    prevent the tragedy that took his daughter’s life. The FBI agent said that the FBI’s tragic mistakes

    were about to become public, and he wanted to make sure Fred heard it from the FBI first.

           126.    The FBI representative told Fred that, before the shooting, the FBI had received

    information about the killer that should have been acted upon and was not. The FBI agent also

    admitted that, had the bureau acted upon the information it had received, the FBI would have been

    able to prevent Cruz from carrying out the shooting.

           127.    Fred asked the FBI representative, “Are you telling me that if the FBI did not make

    a mistake and did their job a month sooner, my daughter would still be alive today?” To that, the

    FBI agent replied, “I’m afraid so, sir.”

           C.      The February 16, 2018 FBI Statement on the Parkland Shooting.

           128.    On February 16, 2018, the FBI issued a statement admitting it had violated

    established protocols in responding to information it received about Cruz prior to the shooting.

           129.    In the statement, the FBI stated that “[o]n January 5, 2018, a person close to Nikolas

    Cruz contacted the FBI’s Public Access Line (PAL) tip-line to report concerns about him. The

    caller provided information about Cruz’s gun ownership, desire to kill people, erratic behavior,

    and disturbing social media posts, as well as the potential of him conducting a school shooting.”12

           130.    The FBI admitted that “under established protocols, the information provided by

    the caller should have been assessed as a potential threat to life. The information then should have




    12
         https://www.fbi.gov/news/pressrel/press-releases/fbi-statement-on-the-shooting-in-parkland-
    florida.


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    been forwarded to the FBI Miami Field Office, where appropriate investigative steps would have

    been taken.”

             131.   The statement makes clear that the FBI was under a non-discretionary duty to assess

    the information about Cruz as a “potential threat to life.” This assessment would trigger a non-

    discretionary duty to forward information to the FBI Miami Field Office. And, at that point, the

    FBI Miami Field Office would have had a non-discretionary duty to take appropriate investigative

    steps.

             132.   FBI officials did not have discretion to do nothing. Established protocols required

    the FBI to act in specific ways in response to the information it received about Cruz: assess the

    information as a potential threat to life and forward it to the FBI Miami Field Office.

             133.   Further, FBI Miami Field Office personnel did not have discretion to do nothing.

    The FBI’s statement explains that if the information had been forwarded to the FBI Miami Field

    Office, “appropriate investigative steps would have been taken.” The statement leaves no room

    for discretion on the part of the FBI Miami Field Office in deciding whether to take appropriate

    investigative steps. An investigation was required under the FBI’s own mandatory directives.

             134.   Doing nothing in response to a tip regarding a potential threat to life is not an act

    embraced within the discretion granted to agents of the FBI.

             135.   The FBI admitted in its statement that established protocols “were not followed for

    the information received by the PAL on January 5. The information was not provided to the Miami

    Field Office, and no further investigation was conducted at that time.”

             136.   In other words, the FBI admitted that it violated established protocols, which

    governed its conduct in responding to the information it received about Cruz.




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             137.   Despite the FBI’s awareness of Cruz’s gun ownership, desire to kill people, erratic

    behavior, disturbing social media posts, and the potential of him conducting a school shooting, the

    bureau failed to follow established protocols that would have prevented the shooting from taking

    place.

             138.   The FBI’s failure to abide by established policies, procedures, protocols, and/or

    guidelines directly and proximately caused the horrific tragedy that cost Jaime Guttenberg, Carmen

    Schentrup, and so many others their lives.

             D.     The FBI’s Press Conference on the Parkland Shooting.

             139.   On February 22, 2018, Bowdich held a press conference in which he admitted that

    “there was a mistake made.”

             140.   Bowdich stated that strong processes and protocols (i.e., mandatory directives)

    were in place and further admitted that their purpose was to deal with and respond to tips, “it’s just

    they were not followed.”

             E.     The FBI’s Congressional Testimony on the Parkland Shooting.

             141.   The FBI also admitted its negligent failures in sworn public testimony.

             142.   Acting Deputy Director Bowdich testified about the Parkland shooting in hearings

    before the Senate and House Judiciary Committees on March 14 and 20, 2018.

             143.   During his testimony, Bowdich, admitted that the FBI had received two separate

    tips alerting them to the dangers Nikolas Cruz posed and failed to respond to the tips properly.

             144.   Bowdich admitted that the FBI “clearly should have done more” in response to

    these alerts. He then summarized the current results of their investigation into what the FBI failed

    to do to prevent this massacre. The findings were the following:




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               •   On September 25, 2017, the FBI received an e-mail alerting them that somebody

                   under the username “Nikolas Cruz” had posted a comment on YouTube that said

                   “I’m going to be a professional school shooter.”

               •   In response to this tip, the FBI opened a “Guardian” lead and assigned it to their

                   Jackson Field Office in Mississippi. Representatives from that office visited and

                   interviewed the tipster. They then determined that the identity of the commenter

                   could not be ascertained and closed the investigation without any further follow-up

                   or alert to local law enforcement agencies.

               •   On January 5, 2018, the FBI received a call-in tip from a woman who identified

                   herself as a close friend of the Cruz family.

               •   This caller alerted the FBI to Cruz’s statements about harming himself and others;

                   his references to ISIS; previous threats he made against his mother with a rifle; that

                   he had purchased several weapons and said he wanted to kill people; that he was

                   mutilating small animals; and that he, at 18, had the mental capacity of a 12- to 14-

                   year old.

               •   The caller told the FBI about the danger that Cruz would “shoot up a school.”

               •   The FBI operator matched the information from this tip to the previous Guardian

                   lead regarding the YouTube post. She “consulted with her supervisor and the matter

                   was closed” without any further action. Information of this tip was never forwarded

                   along for any further review and local law enforcement was, again, not informed of

                   the tip.

           145.    Once they were notified of the shooting at Marjory Stoneman Douglas, the FBI

    connected the shooter to the previously obtained tips.



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           146.    Bowdich concluded his testimony by stating that the FBI is “committed…to doing

    whatever is necessary to correct our mistakes and prevent tragedies like this one from being

    repeated.”

           F.      Discipline for the PAL employees who violated established protocols.

           147.    The PAL employees involved in handling the information about Cruz were severely

    disciplined once their misconduct was discovered by the FBI.

           148.    One of these personnel was fired because of the negligent failures—failures that

    arose from the commission of acts outside of the employee’s discretion—which led to the Parkland

    shooting. Another employee was demoted from his/her position within the FBI.

           G.      The FBI’s December 8, 2018 meeting with the Parkland families.

           149.    Approximately ten months after the shooting—on December 8, 2018—Mr.

    Guttenberg and his wife, Jennifer Guttenberg, attended a meeting at the FBI’s Miami Field Office

    in Miramar, Florida. Also in attendance were numerous other victims’ family members.

           150.    Several FBI officials attended the meeting, including Bowdich and George Piro,

    Special Agent in charge of the Miami Field office. Bowdich delivered a presentation from the FBI

    and addressed all questions presented by victims’ families.

           151.    Bowdich explained that the reason it had taken so long after the shooting to hold

    this meeting was that the FBI needed to take certain personnel actions before the agency could

    discuss the results of its review with loved ones of the Parkland shooting victims.

           152.    Bowdich provided a history of the PAL call center West Virginia. He stated that it

    was established in 2012 and that the idea behind the call center was to have tips that the FBI

    received from the public routed to the call center to standardize and consolidate the process of tip

    collection.




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            153.   Bowdich went on to describe two tips that the FBI received concerning Cruz. The

    first tip was received on September 24, 2017. The caller (“Bennight”) was from Mississippi and

    provided the PAL employee a screenshot of a video Cruz had posted to YouTube.

            154.   The PAL employee concluded that the tip Bennight provided warranted follow up.

    As a result, a “Guardian” was prepared, and Bennight was subsequently interviewed by an FBI

    agent. The agent and a detective who later handled the Guardian determined that they could not

    identify Cruz based on the information provided by the Mississippi caller. However, these two

    officials did not contact YouTube for information about Cruz, nor did they issue a subpoena for

    more information. FBI officials then closed the Guardian regarding the September 2017 call.

            155.   Bowdich then described a second tip: a call received by the FBI from the January

    2018 Caller. The January 2018 Caller called in with concerns that Cruz posed an immediate threat

    to the lives of others. The January 2018 Caller was clear that she expressly and specifically

    expected Cruz to kill people, she and mentioned that he would shoot up a school. She also

    informed the PAL representative that Cruz had guns and was infatuated with the terrorist group

    ISIS.

            156.   The January 2018 Caller explained that given the threat posed by Cruz, her only

    options were to call either the FBI or the Department of Homeland Security.

            157.   The PAL employee who spoke with the aunt referred the call to her supervisor. The

    supervisor never listened to the call.

            158.   Bowdich told the families that he had listened to the recording of the January 2018

    Caller, and that his heart sank when he heard it. He said he was “appalled” to hear the detailed

    information provided by the January 2018 caller.




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           159.    When asked about the FBI’s protocols for handling tips received from the public,

    Bowdich said that PAL employees were required to respond in specific ways to any threat of

    terrorism. For example, Bowdich explained that any reference to a terrorist organization—such

    as ISIS—mandated FBI follow-up and involvement.

           160.    Bowdich told families that the call from the January 2018 Caller was explicit, that

    the threat was clear, and that, according to the FBI’s own protocols the tip should have been

    referred to the Miami Field Office.

           161.    Bowdich also admitted that at the time the tips were made (i) the PAL center did

    not have enough staff to handle the volume of calls it received; (ii) the training PAL employees

    received was inadequate; and (iii) the PAL was under-staffed.

           162.    Bowdich finally admitted that the entire leadership team at the West Virginia PAL

    call center was being replaced, that the PAL employee who received the January 2018 call was no

    longer with the FBI, and that the employee’s supervisor had received extensive discipline.

                                          CAUSE OF ACTION

                                      COUNT I: NEGLIGENCE

           163.    Plaintiffs incorporate by reference the allegations contained in all preceding

    paragraphs.

           Duty

           164.    The FBI owed a legal duty to the students and teachers of Marjory Stoneman

    Douglas High School in Parkland, Florida.

           165.    First, the FBI owed a duty of reasonable care toward the students and teachers of

    Marjory Stoneman Douglas High School under the “voluntary undertaking” or “Good Samaritan”

    doctrine, pursuant to Florida common law and the Restatement (Second) of Torts §§ 324A(a) and

    324A(c).


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              166.   The FBI undertook to serve as the receiver, repository, and conduit of information

    regarding potential threats to life, active shooters, mass shootings, terrorism threats, and school

    shootings. In response to the FBI’s undertaking, the public relied on the FBI as the exclusive

    receiver, repository, and conduit of information concerning these threats, even to the exclusion of

    other governmental entities that could have handled the information. The individuals who

    contacted the FBI with information about Cruz did, in fact, rely on the FBI to exercise reasonable

    care in its undertaking to process the information and pass it along to the FBI employees or other

    law enforcement agencies who would have taken additional investigative steps. Indeed, the FBI

    induced reliance through its public outreach efforts and in its communications with the individuals

    who provided the FBI information about Cruz.

              167.   The FBI’s failure to exercise reasonable care in its undertaking increased the risk

    of harm to the students and teachers at Marjory Stoneman Douglas High School. Had the FBI

    exercised reasonable care, the harms suffered by these victims would have been prevented,

    reduced, or made less likely. Moreover, by assuring the public that tips would be handled with

    reasonable care and properly investigated—and expressly and specifically making such assurances

    to the January 5 caller—the FBI made it less likely that the caller would take other steps to mitigate

    the threat posed by Cruz, including but not limited to seeking the assistance, investigation, and

    intervention by other law enforcement entities.

              168.   The harm to the students and teachers at Marjory Stoneman Douglas High School

    was suffered because the January 5 caller relied on the FBI’s undertaking. Specifically, Plaintiffs

    allege:

                     a. The January 5 caller relied on the FBI’s undertaking by, for example, foregoing
                        other protective actions, remedies, and precautions against harm. After her call
                        with the FBI on January 5, the caller did not notify other authorities about the




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                  risks Cruz posed, she did not notify Marjory Stoneman Douglas High School
                  of the risks, and she did not take other actions to intervene in Cruz’s plans;

               b. The January 5 caller would have alerted other authorities and taken other
                  protective actions were it not for the FBI’s undertaking;

               c. The January 5 caller forewent other precautions on the belief that the FBI would
                  (a) follow its own mandatory directives to vet and process the information; (b)
                  exercise reasonable care in its handling of the information she provided the FBI
                  about Nikolas Cruz; (c) pass the information along to an agent with the authority
                  and expertise to look into the information she provided; and (d) investigate the
                  information she provided the FBI;

               d. The January 5 caller relied on the FBI to pass the information along to
                  individuals within the FBI who would take investigative steps;

               e. The January 5 caller relied on the FBI to exercise reasonable care in processing,
                  vetting, documenting, and disseminating the information it received;

               f. The January 5 caller relied on the FBI to follow its own mandatory directives
                  to ensure that the information was appropriately regarded as a potential threat
                  to life and processed according to that designation;

               g. The January 5 caller relied on the FBI as the exclusive forum for reporting
                  school shooting threats (and threats about potential threats to life, active
                  shooters, mass shootings, and terrorism threats) because the FBI had undertaken
                  to announce it was the appropriate entity to investigate the sorts of crimes that
                  Cruz threatened to carry out;

               h. The January 5 caller was justified in her reliance on the FBI’s undertaking given
                  its affirmative efforts to induce the public to rely on it to serve as the repository
                  and conduit of information about threats to life, school shootings, mass
                  shootings, and terrorism threats;

               i. The January 5 caller was justified in her reliance on the FBI’s undertaking
                  because, when she sought assurances from the FBI’s customer service
                  representative that the FBI was the proper forum for reporting information
                  about Cruz, the FBI reassured her, both implicitly and expressly, that the FBI
                  was the proper forum for reporting such information, that the FBI would
                  investigate the matter, and that the FBI would follow-up with the caller as the
                  investigation proceeded;

               j. Given the tipster’s reliance on the FBI and its assurances, the bureau’s failure
                  to exercise reasonable care in the handling and relaying of the information
                  concerning a potential school shooting by Cruz created a broad zone of risk that




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                       such information would never be disseminated to an appropriate governmental
                       body and that the tip would never be investigated and acted upon; and

                   k. Such failure posed a general threat of harm to the students and staff at Marjory
                      Stoneman Douglas High School—Cruz’s foreseeable target and the intended
                      beneficiaries of the tip, to whom the FBI ultimately owed a duty to perform its
                      undertaking in a reasonable manner.

           169.    As a result of the FBI’s undertaking and the tipsters’ justifiable reliance, the FBI

    knew or reasonably should have foreseen that the failure to exercise reasonable care in handling

    and relaying credible information it received concerning the threats Cruz posed created a broad

    zone of risk that encompassed the students and teachers at Marjory Stoneman Douglas High

    School.    The students and teachers at Marjory Stoneman Douglas High School were the

    foreseeable third-party beneficiaries of the FBI’s services. Both tips the FBI received—in

    September 2017 and January 2018—alerted the FBI that Cruz intended to shoot up a school. The

    January 5 caller told the FBI that Cruz had gotten expelled from high school; the high school Cruz

    was expelled from was Marjory Stoneman Douglas High School. The FBI was aware that Cruz

    still lived in Parkland, Florida—the town where Marjory Stoneman Douglas High School is

    located.

           170.    The FBI knew or should have known that its failure to exercise reasonable care in

    its undertaking would mean that the credible information of an imminent threat would never be

    disseminated to an appropriate governmental body and that such information would never be

    investigated and acted upon.

           171.    If the FBI had not performed its undertaking negligently, the FBI admits that the

    information would have assessed as a potential threat to life and forwarded to the FBI Miami Field

    Office where additional investigative steps would have been taken. Plaintiffs allege, and the FBI

    admits, that additional investigative steps would have occurred if the information had been handled




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    according to the FBI’s mandatory directives. The information about Cruz would have reached the

    FBI agents who had the authority, experience, and expertise to investigate the information and

    prevent an attack.

           172.    The FBI employees who acted negligently are liable to the same extent as private

    persons in like circumstances. Plaintiffs allege the employees owe the same duty of care applicable

    to the private persons in the analogous situations listed below, among others:

                   a. A private person who undertakes to warn the public of danger and thereby
                      induces reliance must perform his good Samaritan task in a careful manner;

                   b. Having voluntarily undertaken to maintain streetlights, an electric utility
                      company owed the public a duty to use reasonable care in performing
                      maintenance;

                   c. Having voluntarily undertaken to maintain a lighthouse, the government owed
                      a duty of care to all seafarers injured as a result of the negligent operation of the
                      lighthouse;

                   d. Having voluntarily undertaken to provide firefighting services, the government
                      owed a duty of care to private landowners who could be foreseeably harmed by
                      the government’s failure to exercise reasonable care in its firefighting;

                   e. Having voluntarily undertaken to conduct safety inspections, inspector owed a
                      duty of care to conduct the inspection carefully;

                   f. Sheriff owed common-law duty of care pursuant to undertaker’s doctrine to
                      individual who died several days after sheriffs performed safety check in
                      response to neighbor’s 911 call; the neighbor relied on the sheriffs to prevent
                      harm and forewent other safety precautions such as summoning an ambulance;

                   g. A retirement home, having undertaken to supervise a resident who it believed
                      to be dangerous behind the wheel of a car, owed duty of care to roofer on the
                      premises who was injured by retiree’s negligent driving;

                   h. Physicians owe a duty of care to third persons outside of the physician-patient
                      relationship in instances where the physician undertakes the treatment of a
                      patient with a communicable or contagious disease; the duty encompasses a
                      duty to correctly inform the patient about the contagious nature of the disease
                      in order to prevent spread to those who are within the foreseeable zone of harm;




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                   i. Mental health professionals owe a duty of care to third persons outside of the
                      therapist-patient relationship, which encompasses a duty to warn, in instances
                      where patient communicates intent to harm third person;

                   j. If a private company, while having no affirmative duty to assist in firefighting,
                      undertakes to render fire protection services to airport users, it is liable for the
                      negligent discharge of the undertaking;

                   k. Where the parents of a teenager who had been having emotional problems
                      called the sheriff’s office to transport their son to a mental health facility for
                      treatment, sheriff owed duty of care to protect teenager from self-inflicted
                      injuries;

                   l. Where university undertook to run a residential rehabilitation program that
                      accepted children with severe behavior problems and failed to take security
                      measures to prevent children from running away, university owed duty of
                      reasonable care toward those injured by runaway children because, having
                      undertaken to rehabilitate children with behavior problems, the university had
                      a duty to exercise reasonable care in carrying out its efforts;

                   m. Police owed common law duty of care, under the voluntary undertaking
                      doctrine, to hiker where officers assured third party that they would check into
                      safety of hiker, thereby discouraging third party from taking action, leading to
                      the hiker’s death.

           173.    The FBI undertook the task of handling and relaying the information it received

    from the January 5 caller in a reasonable manner. In light of the way the FBI held itself out to the

    public, its undertaking, and the context and content of the January 5 caller’s communication with

    the FBI, the FBI knew or reasonably should have foreseen that:

                   a. The January 5 caller relied on the FBI as the exclusive forum for reporting
                      school shootings because, in response to the tipster’s expressed ambivalence
                      about whether the FBI was the proper forum for reporting information about
                      Nikolas Cruz, the FBI reassured the tipster, both implicitly and expressly, that
                      the FBI was the proper forum for reporting such information, that the FBI would
                      investigate the matter, and that the FBI would follow-up with the tipster; and

                   b. Given the tipster’s reliance on the FBI and its assurances, failure to exercise
                      reasonable care in the handling and relaying of the information concerning a
                      potential school shooting by Nikolas Cruz created a broad zone of risk that such
                      information would never be disseminated to an appropriate governmental body
                      and that the tip would never be investigated and acted upon; and




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                   c. Such failure posed a general threat of harm to the students and staff at Marjory
                      Stoneman Douglas High School—the foreseeable target of Nikolas Cruz and
                      the intended beneficiaries of the tip, to whom the FBI ultimately owed a duty
                      to perform its undertaking in a reasonable manner.

           174.    Second, the FBI owed the students and teachers of Marjory Stoneman Douglas

    High School a duty of reasonable care because they were within the foreseeable zone of risk. The

    FBI knew or reasonably should have known that Cruz posed a threat to these students and teachers,

    and that failing to properly assess, investigate, neutralize, mitigate, or warn about the threat would

    cause, contribute to or increase an unreasonable risk of harm to them. The FBI also specifically

    foresaw or reasonably should have foreseen that holding itself out as properly handling, assessing,

    and investigating tips from the public, and failing to do so in the case of Cruz, would cause,

    contribute to or increase an unreasonable risk of harm to the students and teachers.

           175.    The students and teachers at Marjory Stoneman Douglas High School were in the

    foreseeable zone of risk. The FBI knew or should have known that Marjory Stoneman Douglas

    High School was Cruz’s target. The FBI knew that Cruz intended to carry out a school shooting,

    that Cruz had amassed an arsenal of weapons in order to carry out his deadly intentions. Both tips

    the FBI received—in September 2017 and January 2018—alerted the FBI that Cruz intended to

    shoot up a school. The January 5 caller told the FBI that Cruz had gotten expelled from high

    school; the high school Cruz was expelled from was Marjory Stoneman Douglas High School.

    The FBI was aware that Cruz still lived in Parkland, Florida—the town where Marjory Stoneman

    Douglas High School is located.

           176.    Third, FBI owed the students and teachers of Marjory Stoneman Douglas High

    School in Parkland, Florida, a duty to comply with mandatory directives governing how

    information on school shootings, mass shootings, terrorism threats, and potential threats to life was

    to be handled. FBI personnel were subject to mandatory, non-discretionary directives that dictated



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    how tips concerning these potential threats had to be handled. The FBI had adopted those

    procedures as the standard of conduct for handling information concerning potential school

    shootings. The FBI knew or reasonably should have foreseen that the failure to properly follow

    those mandatory directives upon receiving credible information concerning Cruz—including,

    among other things, his stated desire to commit a mass shooting at a school, his possession of high-

    powered weapons with which to carry out a school shooting, his disciplinary history as a student

    at Marjory Stoneman Douglas High School, and his propensity for violence—created a broad zone

    of risk that posed a general threat of harm to the students and staff at Marjory Stoneman Douglas

    High School, the foreseeable target of Nikolas Cruz.

           177.    Fourth, The FBI owed the students and teachers of Marjory Stoneman Douglas

    High School in Parkland, Florida, a special duty to intervene because:

                   a. The FBI instructed the public to communicate information regarding potential
                      school shootings, thereby willingly injecting itself into matters involving
                      potential school shootings;

                   b. The FBI directly involved itself in handling the tip concerning Cruz by fielding
                      the January 5 caller’s tip and assuring the caller that the FBI would investigate
                      the matter and that calling the FBI was the appropriate course of action, to the
                      exclusion of notifying other law enforcement authorities;

                   c. The January 5 caller was, in fact, assured that the FBI would investigate the
                      matter and act upon the information it was given to prevent an attack of the sort
                      Cruz carried out;

                   d. The January 5 caller did, in fact, rely upon on the FBI to investigate the matter
                      and act upon the information it was given to prevent an attack of the sort Cruz
                      carried out;

                   e. The January 5 caller did, in fact, forego other precautionary measures and
                      preventive actions in reliance on the FBI’s non-negligent investigation and
                      handling of the matter;

                   f. The FBI knew or reasonably could have foreseen that an identifiable group of
                      individuals—here, students and teachers of Marjory Stoneman Douglas High




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                       School in Parkland, Florida—were the expected targets of Nikolas Cruz’s
                       violence or anticipated shootings; and

                   g. Despite knowing or reasonably foreseeing the risk to the students and teachers
                      of Marjory Stoneman Douglas High School in Parkland, Florida, the FBI
                      permitted the danger to exist by failing to act entirely, in violation of mandatory,
                      established protocols.

           Breach

           178.    The FBI failed to exercise reasonable care (a) in failing to comply with mandatory

    directives that the bureau had adopted as the standard of conduct for handling information

    concerning potential school shootings; (b) in failing to comply with non-discretionary duties not

    to falsely assure people possessing credible information and evidence about anticipated school

    shootings that their tips and information would be taken seriously and investigated, and not to

    dissuade people with such information from contacting other law enforcement agencies (c) in

    performing the task it undertook—serving as the receiver, repository, and conduit of information

    regarding school shootings—and upon which the public—and, specifically, the January 5 tipster—

    relied to their detriment; and (d) in the way it handled the information received concerning Nikolas

    Cruz and Marjory Stoneman Douglas High School, an entity that was foreseeably at risk of being

    attacked by Nikolas Cruz. Specifically, the FBI failed to exercise reasonable care in the following

    ways, among others:

                   a. Doing nothing whatsoever with the information that it received concerning
                      Cruz;

                   b. Failing to assess, investigate, follow-up or conduct due diligence on the credible
                      information it received from the public, including the January 5 caller;

                   c. Failing to follow mandatory directives that required the FBI to forward the
                      information it had received concerning Cruz to its Miami Field Office, which
                      would have had a non-discretionary obligation to take investigative steps;

                   d. Failing to adhere to protocols that it had adopted as standards of conduct
                      concerning the handling of tips received from the public;



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                   e. Failing to intervene, including in any of a number of ways that the FBI has
                      previously identified as effective intervention methods for preventing,
                      mitigating, or reducing the likelihood of potential school shootings; and

                   f. At the very least, failing to relay the information received from the January 5
                      caller to another governmental body that could have handled the investigation,
                      or to Marjory Stoneman Douglas High School, Cruz’s foreseeable likely target.

           Causation

           179.    As a direct and proximate cause of the FBI’s negligence, Jaime Guttenberg and

    Carmen Schentrup were murdered by Cruz. But for the FBI’s negligence, Cruz would not have

    murdered Jaime Guttenberg and Carmen Schentrup. The FBI’s breaches of its duties of care—

    including its failure to investigate the tips and information it had received, failure to forward the

    information concerning Nikolas Cruz to appropriate governmental bodies, and failure to follow

    the mandatory directives—were direct and substantial causes of the Plaintiffs’ loss.

           180.    The PAL’s failure to document and forward information about Cruz to the FBI

    Miami Field Office prevented the information from reaching the hands of FBI agents with the

    experience and expertise to prevent or mitigate the attack that took the lives of Jaime Guttenberg

    and Carmen Schentrup.

           181.    If the FBI agents at the FBI Miami Field Office had received the information about

    Cruz, they would have taken appropriate investigative steps with that information, as the FBI itself

    admits. Two days after the shooting, the FBI issued a public statement admitting that if the

    information about Cruz had been forwarded to the Miami Field Office “appropriate investigative

    steps would have been taken.”

           182.    It is unreasonable to assume that agents of FBI—trained and experienced

    professionals employed by the entity of the United States government tasked with keeping the

    American people safe from precisely the sort of attack Cruz carried out—would not have been




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    likely to succeed in preventing the attack on Marjory Stoneman Douglas High School. But,

    because of FBI employees’ failures to follow mandatory directives, the FBI agents who were

    trained and qualified to protect the students and teachers at Marjory Stoneman Douglas High

    School were not given the information they needed to act.

           183.   If the FBI agents at the FBI Miami Field Office had taken appropriate investigative

    steps with the information about Cruz, they would have prevented the attacks that took the lives

    of Jaime Guttenberg and Carmen Schentrup. Specifically, Plaintiffs allege:

                  a. When agents in the FBI Miami Field Office receive information of the sort the
                     PAL collected on Cruz, FBI agents act upon that information by taking
                     appropriate investigative steps;

                  b. “Appropriate investigative steps” are actions that were likely—certainly more
                     likely than not—to prevent or mitigate an attack like the one Cruz carried out;

                  c. FBI agents at the FBI Miami Field Office would have taken certain
                     investigative steps with the information about Nikolas Cruz;

                  d. FBI agents at the FBI Miami Field Office are experienced professionals who
                     have the expertise and ability to prevent terrorist attacks, mass shootings, and
                     school shootings like the one that took the lives of Plaintiffs’ daughters;

                  e. When FBI agents at the Miami Field Office have information about a threat to
                     life that is serious and urgent, they consistently take appropriate action to
                     mitigate, thwart, or neutralize the threat;

                  f. FBI agents at the FBI Miami Field Office are capable of thwarting, preventing,
                     mitigating, and reducing the likelihood of threats to life by, among other things,
                     taking steps to investigate such threats;

                  g. FBI agents at the FBI Miami Field Office routinely thwart potential threats to
                     life by taking investigative steps;

                  h. Because the prevention of terrorist attacks is the FBI’s number one investigative
                     priority, information of the sort the FBI received about Cruz would have been
                     thoroughly investigated by trained FBI agents;

                  i. If FBI agents at the FBI Miami Field Office had been given the information
                     about Cruz, it would have acted upon the information promptly, and it certainly
                     would not have ignored the information altogether.



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           184.    Indeed, the FBI admitted—in a conversation with Fred Guttenberg two days after

    the shooting—that Plaintiffs’ decedents would not have perished in Cruz’s attack if the FBI had

    complied with its own mandatory directives.

           185.    FBI agents in the FBI Miami Field Office would have had numerous options to

    investigate and prevent the attack that took the lives of Jaime Guttenberg and Carmen Schentrup,

    including, but not limited to, directly interviewing Cruz; surveillance of Cruz; searching Cruz’s

    home where they would have found a cache of guns and ammunition, some of which had swastikas

    etched onto them; having Cruz committed to a mental health institution; arresting Cruz; search and

    seizure of Cruz’s weapons; search and seizure of Cruz’s cellphone, where the FBI would have

    discovered Cruz’s escalation of his violent plans; coordination with local law enforcement;

    enlisting third-party monitors; and increased vigilance and target hardening activities, including

    warning Marjory Stoneman Douglas High School of a potential for an attack and taking security

    precautions to protect the students and teachers at the school. Any one of these measures would

    have prevented the deaths of Jaime Guttenberg and Carmen Schentrup.

           Damages

           186.    As a direct and proximate cause of the FBI’s negligence, the Guttenbergs, the Estate

    of Jaime Guttenberg, the Schentrups, the Estate of Carmen Schentrup, and all survivors and next

    of kin have been damaged. Therefore, pursuant to Fla. Stat. § 768.21 or other applicable wrongful-

    death law, Plaintiffs are entitled to recover all available damages, including:

                   a. The pain and suffering of Jaime Guttenberg’s and Carmen Schentrup’s

                       survivors, beneficiaries, and heirs;

                   b. Lost society, companionship, guidance, and services of Jaime Guttenberg and

                       Carmen Schentrup to her survivors, beneficiaries, and heirs;



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                       c. Loss of support in money and in kind;

                       d. Loss of net accumulations;

                       e. Lost value of life;

                       f. Funeral expenses; and/or

                       g. Any and all other damages to which the survivors, the beneficiaries, and/or the

                          Estate of Jaime Guttenberg and the Estate of Carmen Schentrup may be entitled

                          to recover under applicable law.

             WHEREFORE, the Plaintiffs demand judgment against the United States for

    compensatory damages, costs, and such other relief as this Court deems just and proper.



                                            CERTIFICATE OF SERVICE

            I certify that on March 26, 2020 the foregoing was served via email to: Paul David Stern,

    Esq.,    e-mail:     paul.david.stern@usdoj.gov;    and     Carlos   Javier   Raurell,   Esq.,   e-mail:

    carlos.raurell@usdoj.gov.



                                                              Respectfully submitted,

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                                                              By: /s/ Kristina M. Infante
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                                                              FL Bar No: 112557
                                                              Steven C. Marks
                                                              FL Bar No. 516414




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                                              VERIFICATION


              Under penalties of perjury, I declare that I have reviewed paragraphs 124-127 and 149-
              162 of the Consolidated Verified Amended Complaint, I have personal knowledge of the
              factual allegations contained therein, and such factual allegations are true and correct.




                                                                  Frederic Guttenberg
